Case: 2:19-cv-00411-ALM-CMV Doc #: 184 Filed: 09/24/21 Page: 1 of 2 PAGEID #: 19607



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION



  SARAH J. HUNTER and DAVID N.
  YOUTZ, on behalf of themselves and all
  others similarly situated,                           CaseNo.2:19-cv-411

                 Plaintiffs,                          CHIEF JUDGE ALGENON L. MARBLEY

                                                       Magistrate Judge Vascura

  BOOZ ALLEN HAMILTON HOLDING
  CORPORATION, et at,

                 Defendants.




                                               ORDER


         This matter is before the Court on Defendant Booz Allen Hamilton Inc.'s ("Booz Allen")

  Unopposed Motion for Clerk's Report on Access. (ECF No. 181). On October 19, 2021, the

  Magistrate Judge granted theparties' Joint Motion to Seal (ECF No. 169), affording them leave to

  file their respective summary judgement and Daubert motions under a temporary seal. (See ECF

  No. 171). In accordance with that Order, on September 22, 2021, Defendant Booz Allen filed a

  Motion to Exclude the Opinions and Testimony of Dr. PhillipJohnson. (ECFNo. 174). However,

  that Motion was inadvertently filed publicly rather than under seal. While the docviment is now

  under seal, there was a brief period where the Motion and accompanying exhibits were publicly

  available. In an effort to protect their confidential information contained therein, Booze Allen now

  asks this Court to provide its report detailing docket activity from September 22, 2021 at 10:56

  PM to September 23,2021 at 5:58 AM. Plaintiffs do not oppose the Motion.
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         Upon consideration of the request and for good cause shown, Booz Allen's Motion (ECF

  No. 181) is GRANTED. This Court will disseminate the requested report to the parties on
  September 24, 2021.

         IT IS SO ORDERED.



                                           ALGECtfON/L.    MARBCEY
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  DATED: September 24, 2021
